                           Case 1:21-cr-00687-RC Document 38-1 Filed 10/17/22 Page 1 of 1
                                                                         - 1 of 1 -
FD-302 (Rev. 5-8-10)

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                                                  FEDERAL BUREAU OF INVESTIGATION



                                                                                                                          Date of entry       07/19/2021



                           US CAPITOL POLICE (USCP), HOUSE DIVISION, SECTION 2,
        Washington DC, telephone             , email                        , was
        interviewed via telephone. After being advised of the identity of the
        interviewing Agent and the nature of the interview,        provided the
        following information:

           On January 6, 2021,        was on duty at the US Capitol Building. He
        responded to a call for assistance on the third floor of the House-side of
        the US Capitol building.         asked an unidentified (UI) US Capitol
        Police officer what assistance he could provide. The     USCP officer asked
               to search DAVID RHINE, who was in the hallway    the prone position.
               searched RHINE and found three knives and pepper stray in his
        belongings.         asked the UI USCP officer for guidance on what to do
        with RHINE. The UI USCP officer said to arrest RHINE.          used flex-
        cuffs to          RHINE. RHINE was compliant with           commands.

                  escorted RHINE to the US Capitol building 2 Rotunda door on the
        second floor. At the second floor Rotunda door area,         was confronted
        by several protestors who demanded    know why RHINE was in flex-cuffs.
               realized there was no rhyme or reason on how to handle detained
        protestors and decided to release RHINE.         told RHINE he was releasing
        him and for       to exit the US Capitol building. RHINE told         he
        would leave the building.         left RHINE, still flex-cuffed, in the
        second floor Rotunda door area and returned to his other duties.

        [Agent Note:                          , SENIOR COUNSEL, OFFICE OF THE
        GENERAL COUNSEL, GENERAL LAW DIVISION, US CAPITOL POLICE, telephone
            , email                      , was part of the telephonic interview.]




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   Investigation on    07/19/2021           at   Tacoma, Washington, United States (Phone)

   File #   266O-SE-3414305                                                                                                  Date drafted    07/19/2021

   by   Marty Trevino, DEAVER JOSEPH C
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